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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION
                                      www.flsb.uscourts.gov

In re:
FedNat Holding Co.                                                     Case Nos.:     0:22-bk-19451-PDR
FedNat Underwriters, Inc.                                                             0:22-bk-19452-PDR
ClaimCor, L.L.C.                                                                      0:22-bk-19453-PDR
Century Risk Insurance Svcs., Inc.                                                    0:22-bk-19454-PDR
Insure-Link, Inc.                                                                     0:22-bk-19455-PDR
                                                                       Chapter 11 Cases
            Jointly Administered Debtors.                              Jointly administered under 22-19451
________________________________________/

                        UNITED STATES TRUSTEE
                    OBJECTION TO CONFIRMATION OF
         FIRST AMENDED COMBINED DISCLOSURE STATEMENT1 AND
        CHAPTER 11 PLAN OF LIQUIDATION FILED ON AUGUST 25, 2023
    AND AS SUPPLEMENTED ON SEPTEMBER 12, 2023 (D.E. ## 567, 591, and 661)

        This Honorable Court should deny confirmation of this first amended, as supplemented,

liquidation plan (D.E. ## 567, 591, and 661) on the basis that this liquidating plan provides for

non-consensual third-party releases that are more expansive than the limited release under 11

U.S.C. § 1125(e) and are contrary to 11 U.S.C. §§ 1141(d)(3) and 727(a)(1), seeks to release

liens on undisclosed estate assets, provides and although specifically states that these Debtors

will not receive any discharge in this liquidating plan—provides for specific discharge provisions

buried in no less than 10 provisions in this liquidating plan.2 Due to these issues, the plan

proponents should be instructed by this Court to present an amended plan of liquidation that

redresses and resolves these issues before this Court rule on confirmation—absent those

amendments, confirmation of this instant plan of liquidation should be denied and the case




        1
           The U.S. trustee preserves and does not waive her objection to the combined disclosure statement and
plan,(D.E. ## 445 and 547) and is incorporated in haec verba.
         2
           Plan (D.E. # 591-1, pp. 50, 53, 54, 56, 57, 63, 71, 72, 78, and 83).
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converted so that an independent estate fiduciary may be appointed to administer and liquidate

the remaining estate assets for the benefit of the estate and its creditors.

         Unlike the reorganizations evidenced in Seaside3 and Le Centre on Fourth,4 these debtors

are liquidating—never to reorganize and operate as the ongoing businesses that came into

bankruptcy and are exiting bankruptcy as reorganized debtors. And unlike the reorganizing

debtors of Seaside and Le Centre on Fourth, the Bankruptcy Code prohibits these debtors from

receiving any manner of a discharge of debt under 11 U.S.C. §§ 1141(d)(3) and 727(a)(1). If the

Bankruptcy Code prohibits a liquidating corporate entity to obtain a discharge, then likewise no

third-party non-debtor entity should receive the unearned benefit of a channeling injunction, bar

order, release, or discharge through the liquidating plan beyond that which Congress provided to

certain limited parties under 11 U.S.C. § 1125(e).

         The Eleventh Circuit Court of Appeals held that reorganizing plans may provide for

third-party releases “because it was deemed necessary for the reorganized entity to succeed” and

that refusing to prevent “claims against non-debtors…would undermine the operations of, and

doom the possibility of success for, the reorganized entity.”5 Yet here, these jointly administered

debtors are not reorganizing. They have sold substantially all of their business through an auction

and are now in the process of winding down and liquidating for the benefit of creditors.

         The liquidating plan’s definitions of Debtor Released Claims, Debtor Releases,

Exculpated Parties, Released Party, Releasing Parties, and Third Party Released Claims are far

more expansive than that limited exculpation Congress envisioned non-debtor entities are



         3
           In re Seaside Engineering & Surveying, Inc., 780 F.3d 1070 (11th Cir. 2015).
         4
           In re Le Centre on Fourth, L.L.C., 17 F.4th 1326 (11th Cir. 2021).
         5
           Seaside, 780 F.3d at 1077; contra In re Munford, 97 F.3d 449 (11th Cir. 1996)(affirming a Rule 9019
settlement of an Adversary Proceeding that provided for a non-consensual bar order and pro tanto judgment
reduction to adequately protect non-settling defendants, which the settling parties would not have settled without the
bar order—thus rendering it integral to the Rule 9019 settlement).

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entitled to under 11 U.S.C. § 1125(e). Any of the parties who believe that they should receive the

benefit of an automatic stay, injunction, release, or bar order are well situated to protect their

own rights and interests—by filing their own bankruptcy and obtaining their own protections

under the Bankruptcy Code and Rules as presently enacted by Congress.

         The liquidating plan provides in numerous locations statements that render a discharge

unto these liquidating debtors, such as “shall be forever barred, estopped, and enjoined from

asserting [claims] against the Debtors or their property, and such…[claims] shall be deemed

compromised, settled, and released.”6 The liquidating plan goes further and proposes the release

of liens that are secured by assets.7 Lien releases run contrary to well settled bankruptcy law that

liens travel through bankruptcy liquidations unless the debt is retired or the lien avoided.8

         And then, the plan proponent may unilaterally attack this Court’s oral ruling confirming

the liquidating plan at the Confirmation Hearing9—simply by refusing to upload a Confirmation

Order10 confirming the plan, resulting in no occurrence of a Confirmation Date11—and instead

merely withdraw12 the liquidating plan that this Court orally confirmed at the Confirmation

Hearing.13 It cannot be gainsaid that under the plan provisions as written by these plan

proponents that they not only hold the power of the pen,14 but also the unilateral power to

abrogate this Court’s own oral confirmation ruling.15


         6
           See, Plan (D.E. # 591-1, pp. 50, 53, 54, 56, 57, 63, 71, 72, 78, and 83).
         7
           Id. at pg. 73.
         8
           Long v. Bullard, 117 U.S. 517, 6 S. Ct. 917 (1886); In re Holloway, 81 F.3d 1062, 1064 (11th Cir.
1996)(liens survive a bankruptcy discharge unless the lien is avoidable, and the debtor has in fact taken steps to have
it avoided.).
         9
           See Plan (D.E. # 591, pg. 92).
         10
            Id. at pg. 19.
         11
            Id.
         12
            Id. at 92.
         13
            See generally In re International Administrative Services, Inc., 408 F.3d 689, 700 (11th Cir. 2005)(a
bankruptcy court’s order is complete when it is uttered by the court and not when it is reduced to paper and entered
on the court’s docket).
         14
            See Plan pg. 81.
         15
            Id. at 92.

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       The U.S. trustee preserves and does not waive her right to raise and be heard on any

issue, and reiterates that she preserves and does not waive her original objection to the use of a

combined disclosure statement and plan in a standard chapter 11 case (non-small business case)

contrary to the express statutory provision of 11 U.S.C. § 1125; Federal Rules of Bankruptcy

Procedure 3016, 3017, and 3017.1, and Bankruptcy Local Rule 3016-2 and 3017-1.

       WHEREFORE PREMISES CONSIDERED the United States Trustee for Region 21

respectfully prays that this Honorable Court sustain the objection and require the plan proponent

to file appropriate amendments to the liquidating plan that redress and resolve these objections

and absent those amendments, deny confirmation and convert the cases to chapter 7 so that an

unbiased estate fiduciary may liquidate the assets for the benefit of the estate and its creditors,

and for such other and additional relief as this Honorable Court determines appropriate after

hearing.

       Dated: 27 September 2023

                                               Respectfully submitted,

                                               Mary Ida Townson
                                               U.S. TRUSTEE, REGION 21

                                       By:     /s/ J. Steven Wilkes (Ala Bar # WIL-278)
                                               Trial Attorney
                                               U.S. Department of Justice
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been served
electronically, or via United States mail service postage prepaid, on or before 27 September
2023:

       Electronically:         Debtors’ Counsel
                               Official Committee Counsel
       All other parties receiving CM/ECF Notice of Filing
                                                                   /s/ J. Steven Wilkes




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